Case 2:13-cr-06070-SAB              ECF No. 92          filed 07/18/24       PageID.319         Page 1 of 2




      United States District Court, Eastern District of Washington
                               Magistrate Judge James A Goeke
                                           Richland

 USA v. KENNETH RICHARD                                  Case No.           2:13-CR-6070-SAB-1
 ROWELL

       Richland Video Conference (JAG @ Spokane; Counsel and Defendant @ Richland)
                    The Defendant agreed to appear via video conference.

 Initial Appearance on Supervised Release Petition:                                           07/18/2024


 ☒ Sara Gore, Courtroom Deputy [R]                      ☒ Brandon Pang, US Atty
 ☒ Lee Reams, Courtroom Deputy [S]                      ☒ Craig Webster, Defense Atty
 ☒ SanJuanita Coronado, US Probation /                  ☒ Interpreter NOT REQUIRED
   Pretrial Services Officer (tele)
 ☒ Defendant present ☒in custody USM


 ☒    USA Motion for Detention                          ☒    Rights given
 ☐    USA not seeking detention                         ☒    Acknowledgment of Rights filed
 ☒    Financial Affidavit (CJA 23) filed                ☒    Defendant received copy of charging document
 ☒    The Court will appoint the Federal Defenders      ☒    Defendant waived reading of petition
 ☐    Based upon conflict with Federal Defenders, the   ☐    Petition reviewed in open court
      Court will appoint a CJA Panel Attorney
 ☐    Conditions of Release Imposed                     ☐    Supplemental Pre-Trial Services Report ordered
 ☐    Conditions of Release as Previously Imposed       ☐    The Court ordered continued representation of
                                                             previously appointed counsel with the additional
                                                             Petition(s)
 ☐    AO 199C Advice of Penalties/Sanctions


                                               REMARKS
        Defendant appeared and was assisted by counsel and advised of his rights and the allegations
contained in the petition filed on 5/29/2024 regarding alleged violation numbers 1-8.
        The Defendant acknowledged to the Court that his true and correct name is: Kenneth Richard
Rowell.
        A denial of the violations pending on the petition is entered on behalf of Defendant.

The Court ordered:
        1. USA’s Motion for Detention is granted.
        2. Defendant shall be detained by the U. S. Marshal until further order of the Court.




Digital Recording/R-326                 Time: 10:08 a.m. – 10:19 a.m.                                  Page 1
Case 2:13-cr-06070-SAB          ECF No. 92    filed 07/18/24      PageID.320    Page 2 of 2




 Detention Hrg on Petition:           Preliminary Hrg:               Revocation Hrg:
                                                                  07/23/2024 @ 9:30 a.m.
    Waived by Defendant             Waived by Defendant                  [Y/SAB]

   Subject to right to return
   before the Court should
    circumstances change.




Digital Recording/R-326           Time: 10:08 a.m. – 10:19 a.m.                      Page 2
